Case 1:17-cr-00101-LEK Document 430 Filed 02/19/19 Page 1 of 5      PageID #: 3767




                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )            CRIM. NO. 17-00101 LEK
                               )
                Plaintiff,     )            ORDER DENYING DEFENDANT’S
                               )            SEVENTH MOTION FOR ORDER TO
      vs.                      )            SHOW CAUSE AND REQUEST FOR
                               )            EXPEDITED HEARING
 ANTHONY WILLIAMS,             )
                               )
                Defendant.     )
 _____________________________ )

  ORDER DENYING DEFENDANT’S SEVENTH MOTION FOR ORDER
    TO SHOW CAUSE AND REQUEST FOR EXPEDITED HEARING

       Defendant Anthony Williams’s (“Defendant”) Seventh Motion for Order

 to Show Cause and Request for Expedited Hearing (“Motion”) seeks an order:

       (i)    requiring the Bureau of Prisons (“BOP”) Federal Detention Center,

              Honolulu (“FDC”) to move an e-discovery terminal from the

              second tier of Defendant’s housing unit to the law library [ECF No.

              418-2 at ¶ 30];

       (ii)   vacating this Court’s July 25, 2018 Order [ECF No. 297], which

              ensured Defendant a minimum of two consecutive hours of access

              to his discovery disks and the FDC e-discovery terminal per day

              until trial [Id.]; and
Case 1:17-cr-00101-LEK Document 430 Filed 02/19/19 Page 2 of 5         PageID #: 3768




       (iii)   transferring this case to “another district where judges understand

               what fairness, equity, impartiality and prudence means regardless

               of how the[y] personally feel about a defendant.” [Id. at ¶ 32.]

       The Court addresses these requests for relief seriatim.

       A.      Location of the e-discovery terminal

       Defendant fails to establish that he has exhausted the BOP administrative

 process before challenging the location of the e-discovery terminal. The Court

 has explained to Defendant, on several occasions, the requirement that he

 exhaust the BOP administrative process before challenging the conditions of his

 confinement in this Court. See, e.g., ECF No. 132, Order Denying (1) Motion

 for Order to Show Cause, and (2) Ex Parte Application and Motion for Funds to

 Purchase Legal Supplies at Government’s Expense; ECF No. 389, Order

 Denying Defendant’s Sixth Motion for Order to Show Cause and Request for

 Expediting Hearing. Accordingly, because Defendant has not established that

 he has exhausted his administrative remedies, the Court DENIES Defendant’s

 request to relocate the e-discovery terminal.

       B.      Vacating the July 25, 2018 Order

       Defendant asks this Court to vacate the July 25, 2018 Order, ECF No.

 297, which ordered the BOP to provide Defendant with a minimum of two hours

 per day access to electronic discovery:


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Case 1:17-cr-00101-LEK Document 430 Filed 02/19/19 Page 3 of 5         PageID #: 3769




              Consistent with its representations to this Court, the BOP,
              upon a proper specific e-mailed request from Defendant for
              each day, is ordered to provide Defendant access to the
              discovery disks from this prosecution, and make reasonable
              accommodations for Defendant to view the content of these
              disks, for two consecutive hours per day, at a minimum, for
              each day that Defendant requests access until Defendant’s
              trial.

 ECF No. 297 at 2. Defendant previously appealed this ruling to the district

 court, which denied the appeal on October 3, 2018. ECF No. 347. In doing so,

 the district court found that (i) Defendant had not identified any specific harm

 that would establish he was being denied constitutionally adequate access to the

 resources necessary to prepare his defense, and (ii) the BOP has a legitimate

 security interest in limiting inmate access to computer disks. Id. at 6-7. Here,

 and as previously pointed out by the district court on appeal, Defendant has not

 articulated any specific harm that he has suffered because of the July 25, 2018

 Order’s time parameters for viewing discovery disks. Rather, Defendant simply

 asserts “immeasurable harm” and a need for “all day access,” which are

 conclusory arguments that do not change the analysis reached in the July 25,

 2018 Order or the October 3, 2018 denial of the appeal therefrom. The Court

 therefore DENIES Defendant’s request to vacate the July 25, 2018 Order.

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Case 1:17-cr-00101-LEK Document 430 Filed 02/19/19 Page 4 of 5           PageID #: 3770




        C.    Case transfer

        Defendant asserts that this case should be transferred to another district

 “where judges understand what fairness, equity, impartiality and prudence

 means regardless of how the[y] personally feel about a defendant.” ECF No.

 418-2 at ¶ 32.

        First, venue is proper in this district. A criminal prosecution must take

 place in the district where the offense was committed. U.S. Const. art. III, § 2 cl.

 3 (“The Trial of all Crimes . . . shall be by Jury; and such Trial shall be held in

 the State where the said Crimes shall have been committed.”); Fed. R. Crim.

 Pro. 18 (“Unless a statute or these rules permit otherwise, the government must

 prosecute an offense in a district where the offense was committed.”).

 Defendant does not contest that the alleged criminal conduct occurred in this

 district.

        Second, Defendant’s conclusory allegations regarding judicial bias have

 already been considered and rejected. See ECF No. 257, Order Denying Motion

 for Disqualification of Judge Leslie Kobayashi; ECF No. 321, Order Denying

 Motion for Disqualification of Judge Kenneth Mansfield. Accordingly, transfer

 of venue based upon the same arguments is not proper. See, e.g., Jones v. City

 of Buffalo, 867 F. Supp. 1155, 1163 (W.D.N.Y. 1994) (“because [defendant] has

 failed to demonstrate that disqualification or recusal is appropriate in this case,


                                           4
Case 1:17-cr-00101-LEK Document 430 Filed 02/19/19 Page 5 of 5          PageID #: 3771




 his motion for disqualification and transfer of venue to the District of Columbia

 shall be denied.”). The Court therefore DENIES Defendant’s request to transfer

 venue.

       IT IS SO ORDERED.

       DATED: Honolulu, Hawaiʻi, February 19, 2019.




                                       Kenneth J. Mansfield
                                       United States Magistrate Judge




 USA v. Williams, CR 17-00101 LEK; ORDER DENYING DEFENDANT’S SEVENTH MOTION FOR
 ORDER TO SHOW CAUSE AND REQUEST FOR EXPEDITED HEARING




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